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                    UNITED STATES DISTRICT COURT

                    EASTERN DISTRICT OF LOUISIANA

UNITED STATES                                    CRIMINAL ACTION

VERSUS                                           NO: 12-198

WALTER PORTER, ET AL.                            SECTION: R

                          ORDER AND REASONS

     Before the Court is the Government’s notice of intent to

introduce at trial intrinsic evidence, or, in the alternative,

extrinsic evidence pursuant to Federal Rule of Evidence 404(b).

Defendant Walter Porter opposes the introduction of evidence

linking him to four previous bank robberies.         Defendant Terrance

Lodrig objects to the introduction of evidence relating to the

alleged acquisition of a stolen vehicle for use in the charged

robberies.    He also opposes the admission of evidence of his

alleged laundering of proceeds from one of the charged robberies.

For the following reasons, the Court finds that evidence of

Porter's alleged involvement in the four uncharged bank robberies

is admissible as intrinsic evidence explaining how Porter

allegedly recruited his co-defendants to join the charged

conspiracy.   In the alternative, the evidence is admissible under

Rule 404(b) to prove modus operandi and intent.          The Court

reserves judgment as to whether evidence concerning the

acquisition of the stolen vehicle is admissible against Lodrig,

but in any event, evidence of its use in furtherance of the
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alleged conspiracy is admissible against all defendants,

including Lodrig.         Finally, the Court finds that the evidence of

Lodrig's alleged involvement in laundering the proceeds of the

charged robberies is admissible against him as to Counts Six and

Seven.



I.      BACKGROUND

        On May 24, 2012, the government issued a five-count

indictment against Walter Porter and Brian Keith Hayes, charging

both with one count of conspiracy to commit armed bank robbery,

two counts of armed bank robbery, and two counts of use of a

firearm in furtherance of the bank robberies.1             On May 9, 2013,

the government filed a First Superseding Indictment, realleging

Counts I-V against Porter and adding three new defendants: Robert

Taylor, London Carter, and Terrance Lodrig.2             Hayes negotiated a

plea with the government and was not charged in the Superseding

Indictment.       The charges as to each defendant were as follows:

        (1)    Count One, Conspiracy to Commit Armed Bank Robbery, is

               alleged against all four defendants;

        (2)    Count Two, Armed Robbery, corresponds to the July 6,

               2011 robbery of the Capitol One Bank at 6307 Elysian

               Fields in New Orleans.       Porter and Taylor are charged


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        2
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            in this count, and the Government alleges that Hayes

            participated as well.

     (3)    Count Three, Use of a Firearm During and in Relation To

            a Crime of Violence, corresponds to the July 6, 2011

            robbery and is alleged against Porter and Taylor.

     (4)    Count Four, Armed Robbery, corresponds to the August

            26, 2011 robbery of the Capital One Bank at 2200 North

            Causeway in Metairie. Porter, Carter, and Lodrig are

            charged in this count, and the Government alleges that

            Hayes also participated.

     (5)    Count Five, Use of a Firearm During and in Relation To

            a Crime of Violence, corresponds to the August 26, 2011

            robbery and is alleged against Porter, Carter and

            Lodrig.3

     On August 22, 2013, the grand jury returned the Second

Superseding Indictment, realleging Counts I-V and adding two

additional counts.4     Count VI charged Lodrig with conspiracy to

make a false statement in a federal matter.         The charge stems

from an alleged agreement among Lodrig, Hayes, and other

conspirators to tell a false story about the laundering of

Hayes's and Lodrig's shares of dye-stained loot from one of the

two robberies.    Porter is mentioned in the overt acts as having


     3
         R. Doc. 57.
     4
         R. Doc. 123.

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attempted to clean red dye stain from the stolen money and having

advised Hayes and Lodrig that they could exchange the money at a

casino, but he is not charged in Count VI.        Count VII charges

both Porter and Lodrig with conspiracy to commit money laundering

based on the same series of events.

     On August 26, 2013, the Government filed a notice of intent

to introduce evidence relating to "other acts" that one or more

defendants allegedly committed.5        As to Porter, the Government

seeks to introduce evidence of the following:

     (1)    the September 9, 2009 armed robbery of the Capital One

            Bank located at 1100 South Carrollton Avenue in New

            Orleans;

     (2)    the October 2, 2009 armed robbery of the Capital One

            Bank located at 2200 North Causeway in Metairie;

     (3)    the December 8, 2009 armed robbery of the Omni Bank

            located at 637 South Carrollton Avenue in New Orleans;

     (4)    the December 15, 2009 armed robbery of the Capital One

            Bank located at 6235 South Claiborne Avenue in New

            Orleans;

     (5)    the 2011 acquisition of a stolen 2010 Ford Fusion for

            use as a the getaway car in both charged robberies; and

     (6)    the 2011 laundering of Lodrig's share of the proceeds

            from the August 26, 2011 bank robbery.


     5
         R. Doc. 125.

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        The Government also seeks to introduce items (5) and (6)

against Lodrig and Carter, and item (5) against Taylor, although

it alleges that Porter was the defendant who acquired the stolen

vehicle.

        The Government argues that the 2009 bank robberies are

admissible as intrinsic evidence of the conspiracy.              It alleges

that Carter, Taylor, and Lodrig chose to join the conspiracy

based on Porter's detailed account of the successful 2009

robberies, and that the 2009 robberies are therefore

"inextricably intertwined" with the formation of the 2011

conspiracy.    In the alternative, the Government argues that the

2009 robberies are admissible under Federal Rule of Evidence

404(b), because the similarities between the 2009 and 2011

robberies speak to the identity, intent, and knowledge of the

perpetrators, as well as to the existence of a common scheme or

plan.    Porter objects to the introduction of evidence of the

earlier bank robberies.        He argues that evidence of the 2009

robberies is not intrinsic to the crimes charged because the two

sets of robberies are separated by nearly two years, and because

there is no evidence that they were part of the charged

conspiracy.    Porter also contends that there is no evidence

linking any member of the conspiracy to the 2009 robberies other

than the allegation that Porter was one of the two perpetrators

of the 2009 robberies. As for the Government's alternative


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argument that the robberies are admissible under Rule 404(b),

Porter argues (1) that the 2009 and 2011 robberies are not

sufficiently similar to be probative identity or the existence of

a common scheme or plan; (2) that the 2009 robberies are

irrelevant to the question of intent, because Porter does not

allege that he was an ignorant or innocent participant in a

conspiracy to commit the 2011 robberies, but rather than he was

not involved at all; and (3) that the robberies were not

sufficiently complex for the 2009 robberies to prove that Porter

had the requisite knowledge to commit the 2011 robberies.

Finally, Porter argues that the evidence is more prejudicial than

probative.

     Lodrig opposes the Government's use against him of evidence

of the acquisition of the getaway car and of his alleged money

laundering activities.    He argues that the car in question was

acquired before he is alleged to have joined the conspiracy.              He

also objects to the use against him of evidence of the alleged

money laundering, although apparently only for the purposes of

Counts One, Four, Five and Six, and not as to Count Seven, the

money laundering conspiracy charge.      The Court has reviewed the

contested evidence and the parties’ arguments and now rules as

follows.




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II.   DISCUSSION

      The Government seeks to introduce evidence of “other acts”

that Porter and Lodrig allegedly committed.         The evidence

implicates Federal Rule of Evidence 404(b), which provides:

      Evidence of other crimes, wrongs, or acts is not admissible
      to prove the character of a person in order to show that he
      acted in conformity therewith. It may, however, be
      admissible for other purposes, such as proof of motive,
      opportunity, intent, preparation, plan, knowledge, identity,
      or absence of mistake or accident.

FED. R. EVID. 404(b).   The Fifth Circuit and other courts have

interpreted the phrase “other crimes, wrongs, or acts” to embrace

only those acts that are “extrinsic” to the crimes charged in the

indictment.   See United States v. Aleman, 592 F.2d 881, 885 (5th

Cir. 1979).   Evidence of “intrinsic” acts “does not implicate

Rule 404(b), and consideration of its admissibility pursuant to

Rule 404(b) is unnecessary.”      United States v. Coleman, 78 F.3d

154, 156 (5th Cir. 1996).      In general, evidence of other acts is

intrinsic “when the evidence of the other act and evidence of the

crime charged are ‘inextricably intertwined’ or both acts are

part of a ‘single criminal episode’ or the other acts were

‘necessary preliminaries’ to the crime charged.”          United States

v. Williams, 900 F.2d 823, 825 (5th Cir. 1990).          Thus, before a

court decides whether Rule 404(b) bars the introduction of

certain evidence, it must make a threshold inquiry into the

relationship between the evidence and the crimes charged in the

indictment.   If the evidence is intrinsic to one or more of the

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charges, the additional requirements of Rule 404(b) are

inapplicable.

        If a court determines that the challenged evidence is

extrinsic to the charged offenses, it must then apply the two-

part test developed in Beechum, 582 F.2d at 909-18, to determine

whether the evidence is admissible.      See United States v. Sumlin,

489 F.3d 683, 690 (5th Cir. 2007).      First, the Court must

determine whether the evidence is “relevant to an issue other

than the defendant's character,” such as motive, intent, or

knowledge.      Beechum, 582 F.2d at 911. Second, the evidence must

have "probative value that is not substantially outweighed by its

undue prejudice and ... meet[s] the other requirements of rule

403.”     Id.

        The relevance of extrinsic offense evidence is determined by

Federal Rule of Evidence 401, which provides that evidence is

relevant if it has “any tendency to make the existence of any

fact that is of consequence to the determination of the action

more probable or less probable than it would be without the

evidence. Id.; Fed. R. Evid. 401. The relevance of an extrinsic

offense “is a function of its similarity to the offense charged,”

and similarity must be determined with respect to the particular

issue to which the extrinsic offense is addressed.             Beechum, 582

F.2d at 911.     In any event, “similar act evidence is relevant

only if the jury can reasonably conclude that the act occurred


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and that the defendant was the actor.” Huddleston v. United

States, 485 U.S. 681, 689 (1988) (citing Beechum, 582 F.2d at

912–13).

     In making its relevance determination, the Court is not

required to make a preliminary finding that an extrinsic act or

offense in fact occurred.      Huddleston, 485 U.S. at 688–89.         The

Court instead admits extrinsic offense evidence under Federal

Rule of Evidence 104(b), which requires the Court to “examine[ ]

all the evidence in the case and decide[ ] whether the jury could

reasonably find the conditional fact ... by a preponderance of

the evidence .”   Id. at 690.     The Court has broad discretion to

control the order of proof at trial and may allow the Government

to introduce evidence concerning a similar act subject to a later

assessment of whether sufficient evidence has been offered to

permit the jury to make the requisite finding.          Id.    Only if the

Government ultimately fails to meet this “minimal standard of

proof” must the Court instruct the jury to disregard the evidence

that was conditionally admitted.        Id.

     In determining whether extrinsic offense evidence has

probative value that is not substantially outweighed by its undue

prejudice and also meets the other requirements of Federal Rule

of Evidence 403, the court conducts a “commonsense assessment of

all the circumstances surrounding the extrinsic offense.”

Beechum, 582 F.2d at 914.      The Court considers the availability


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of other means of proof of the charged offense, and it is the

“incremental probity” of the extrinsic evidence that must be

balanced against its potential for undue prejudice.           Id.   Thus,

if a defendant's intent is not contested, the probative value of

extrinsic evidence as to that issue will be inconsequential. Id.

Furthermore, the probative value of an extrinsic offense

“correlates positively” with its similarity to a charged offense.

Id. at 915. If the extrinsic offense and the charged offense are

dissimilar in most respects, “the extrinsic offense may have

little probative value to counterbalance the inherent prejudice

of this type of evidence.”     Id.    Finally, the Court considers the

amount of time separating the extrinsic offense from the charged

offense.   Id.   Temporal remoteness is not dispositive, but it

“depreciates the probity of the extrinsic offense.” Id.



     A.    The 2009 Bank Robberies

     The Government argues that evidence of the 2009 robberies is

intrinsic to the charged conspiracy to commit the 2011 robberies,

because Porter's detailed explanation of the methods he allegedly

used in the 2009 robberies is "inextricably intertwined with [the

other defendants'] decision making process in becoming involved

in the conspiracies and substantive crimes . . . ."           The

Government alleges that Porter "discussed his involvement in,

planning, style of committing these bank robberies, his handling


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and disposition of the bank robbery proceeds, including his

washing of bank robbery money, and his knowledge of exchanging

bills at casinos with others to persuade them to participate with

him in future bank robberies."

     When a conspiracy is alleged, the Fifth Circuit gives

somewhat greater latitude in characterizing evidence as

intrinsic.    United States v. Girod, 646 F.3d 304, 320 (5th Cir.

2011) (citing United States v. Brown, 388 Fed.App’x 455, 460 (5th

Cir. 2010) (per curiam) (unpublished) (ruling that defendants'

drug use was intrinsic to a conspiracy to steal mail, because the

conspiracy's origin was a desire to obtain financial information

from the mail in order to purchase merchandise that would later

be traded for drugs)).    Evidence is therefore intrinsic to a

conspiracy if it is relevant to establish how the conspiracy came

about, how it was structured, and how each conspirator became a

member.   United States v. Watkins, 591 F.3d 780, 784 (5th Cir.

2009) (citing United States v. Nichols, 750 F.2d 1260, 1265 (5th

Cir.1985)).   Evidence of similar crimes occurring before the

formation of the conspiracy is admissible if it sheds light on

the circumstances under which the conspiracy was formed, because

“[e]vidence of the establishment of the conspiracy . . . [is] a

legitimate part of the government's proof in establishing the

conspiracies charged.”    United States v. Lokey, 945 F.2d 825, 834

(5th Cir. 1991) (quoting United States v. Nichols, 750 F.2d 1260,


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1265 (5th Cir.1985)). The Fifth Circuit has characterized drug

transactions that pre-dated an indicted conspiracy as intrinsic

evidence when the evidence was “not submitted to show the

defendant's proclivity towards crime, but . . . as background

information establishing the connection between a witness and a

defendant.”   United States v. Williams, 277 F. App'x 472, 475

(5th Cir. 2008) (per curiam) (unpublished) (quoting United States

v. Miranda, 248 F.3d 434, 440–41 (5th Cir. 2001)).            See also

United States v. Royal, 972 F.2d 643, 648 (5th Cir. 1992)

(admitting evidence of pre-conspiracy drug transactions between

co-defendants because “it allowed the jury to understand the

nature of the relationship between the [coconspirators] and

evaluate whether it was likely that the [d]efendant[s] would have

conspired”); United States v. Nguyen, 213 F.3d 638 (5th Cir.

2000) (per curiam) (unpublished) (holding that evidence of a

"prior criminal act" committed by the defendant was intrinsic to

the charge of bank robbery, because the criminal act was

inextricably intertwined with another individual's decision to

help Nguyen rob the bank).

     In Miranda, the Fifth Circuit upheld the admission of

witness testimony regarding drug transactions between the witness

and the defendant that occurred before the formation of the

indicted conspiracy, because those transactions constituted “part

of the background facts surrounding the commission of the crime.”


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 248 F.3d at 440 (quoting United States v. Wilson, 578 F.2d 67,

72 (5th Cir. 1978)).      The testimony merely completed the

witness’s account of her dealings with the defendant.            Id. at

441.       In this case, a Government witness is apparently prepared

to testify that Porter described his techniques in a number of

past successful robberies in order to convince the charged

coconspirators to participate in the 2011 robberies.            Such

testimony would be instrumental to the Government in discharging

its burden of establishing the existence of an agreement to

commit the charged robberies.      As in Royal, the evidence will

assist the jury in determining whether it was likely that the

defendants would have conspired.         Porter’s alleged claims of

extensive, successful experience robbing banks could provide his

potential coconspirators confidence that the scheme was feasible.

The Court finds that the probative value of the evidence,

introduced for the purposes described above, will outweigh the

risk of unfair prejudice.6




       6
       The Government stated in its brief that it “anticipates”
presenting testimonial evidence as to each bank robbery. It goes
without saying, of course, that the Government may introduce
corroborating evidence of only those robberies that its witness
will testify were described to him by Porter. The Government has
proffered no other evidence connecting Porter to any of the 2009
robberies, so they are irrelevant except to the extent that they
were described by Porter in his alleged attempts to recruit the
coconspirators. See Huddleston, 485 U.S. at 690; see also FED.
R. EVID. 104(b).

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        Even if not intrinsic to the charged conspiracy, evidence of

the four uncharged bank robberies is admissible as extrinsic act

evidence under Rule 404(b).     Assuming that the Government's

witness testifies as planned, a reasonable jury could find by a

preponderance of the evidence that Porter committed the four

robberies.    Because of the similarities between the uncharged and

charged bank robberies, evidence of the former is relevant to

assist the jury in determining the identity of the perpetrators

in the latter two robberies.

        Evidence of prior crimes is admissible to prove identity

under Rule 404(b),

  if the circumstances of the extraneous act were so similar
  to the offense in question that they evince a signature
  quality–marking the extraneous act as the handiwork of the
  accused. Indeed, proper identity evidence is tantamount to
  modus operandi evidence.


United States v. Guerrero, 169 F.3d 933, 939 (5th Cir. 1999)

(quoting United States v. Sanchez, 988 F.2d 1284, 1393-94 (5th

Cir. 1993) (internal quotation and citations omitted).            Two

factors are relevant to this inquiry: the distinctiveness of the

crimes and the proximity of the crimes in space in time.            U.S. v.

Castaneda, CRIM.A. No. 05-41684, 2007 WL 836932, at *3 (5th Cir.

2007) (per curiam) (unpublished) (citing Guerrero, 169 F.3d at

939).

        As for the proximity in space and time of the charged and

uncharged crimes, all six robberies occurred in New Orleans and

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Metairie, an adjacent suburb.     More importantly, one of the

uncharged robberies took place at the Capital One Bank located at

2200 North Causeway in Metairie, which was also the site of one

of the charged robberies.     The charged crimes began within

nineteen months of the last of the uncharged robberies, all of

which occurred within roughly three months of one another.             Thus,

the robberies occurred well within the time period in which they

could be deemed relevant.     See United States v. Broussard, 80

F.3d 1025, 1040 (5th Cir. 1996) (ten years); United States v.

Pollani, 218 F.3d 743, at *3 (5th Cir. 2000) (eight years);

United States v. Chandler, 368 Fed. Appx. 495, 500 (5th Cir.

2010) (17 years).

     Defendant cites United States v. Myers, 550 F.2d 1036, 1046

(5th Cir. 1977), for the proposition that evidence of the

uncharged robberies is inadmissible, because (1) the similarities

they share with the charged crimes are nothing more than generic

components of armed bank robberies, and (2) a different number of

perpetrators participated in the charged and uncharged robberies.

In Myers, the Court rejected the Government's modus operandi

theory because,

  [a]n early afternoon robbery of an outlying bank situated on
  a highway, by revolver-armed robbers wearing gloves and
  stocking masks, and carrying a bag for the loot, is not such
  an unusual crime that it tends to prove that one of the two
  individuals involved must have been the single bandit in a
  similar prior robbery.



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Id.   The Court distinguished the facts of the case from those in

United States v. Cavallino, 498 F.2d 1200 (5th Cir. 1974), where

just three years before it had admitted evidence of prior,

uncharged bank robberies under Rule 404(b).        The commonalities

among the robberies in Cavallino more closely approximate the

characteristics shared by the charged and uncharged robberies in

this case, and the Court finds that case instructive.

      In Cavallino, the Court noted the following similarities

between three uncharged robberies and the charged offense:

      (1) Each robbery victim was a bank;

      (2) A person who had participated with the defendant in each

      of the three previous robberies was persuasively linked to

      the fourth, which was also committed by more than one

      person;

      (3) The participants had a meeting before each robbery;

      (4) A stolen or "hot" car of General Motors manufacture was

      used to approach and leave each bank;

      (5) A rented or "cool" car, obtained at a rental agency, was

      used after the "hot" car was abandoned in each case;

      (6) In each crime, the "hot" car was parked at the bank's

      rear door and the robbers entered and departed by the rear

      door;

      (7) All four robberies were committed between 9 a.m. and

      11:30 a.m.;


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        (8) In all four crimes one robber was armed with a revolver,

        and in one of the uncharged crimes and the charged crime,

        another robber was armed with a sawed-off shotgun;

        (9) Each robbery was "quick and apparently timed with

        precision."

Cavallino, 498 F.2d at 1207.       The Court also noted that in

defendant's confession to the three uncharged robberies, he

indicated that, in his opinion, 9-11 a.m was the best time to rob

a bank, and an airport rental agency was the best place to rent a

"cool" car.    The Court in Myers also found it significant that in

Cavallino, there were three uncharged robberies similar to the

charged crime, as opposed to only one uncharged crime in that

case.     Myers, 550 F.2d at 1047.

        Here, the Government alleges that the charged and uncharged

robberies share the following characteristics:

        (1) Each robbery occurred at a bank located in New Orleans

        or suburban Metairie;

        (2) Notably, one of the uncharged robberies occurred at the

        same bank that was hit in the August 26, 2011 charged

        robbery;

        (3) Three of the four uncharged robberies took place at

        Capital One Bank branches, as did both of the charged

        robberies;




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   (3) All the robberies were armed, "takeover style"

   robberies;

   (4) Each robbery involved the use of a stolen getaway car,

   which was abandoned in all cases except the July 6, 2011

   charged robbery, because the car was reused in the August

   26, 2011 robbery;

   (5) Each robbery involved the use of a trailing driver in a

   separate vehicle;

   (6) In each robbery, all perpetrators wore some type of hat;

   (7) A witness account contained in a police report indicates

   that one of the perpetrators in the September 9, 2009

   uncharged robbery wore an "NY" baseball cap, and in both

   charged robberies, one of the perpetrators also wore an NY

   baseball cap;

   (8) In at least two of the uncharged robberies, as well as

   both the charged robberies, the perpetrators each wore at

   least one latex glove;

   (9) In at least two of the uncharged robberies and in the

   August 26, 2011 charged robbery, one of the perpetrators

   jumped the teller counter,

   (10) According to the Government, the perpetrators in each

   robbery told victims at gunpoint not to look at them;

   (11) The government also alleges that in each case, the

   perpetrators placed an emphasis on identifying the


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     commercial teller stations, which Porter believed contained

     more cash; and

     (12) After both the December 15, 2009 uncharged robbery and

     the August 26, 2011 charged robbery, Porter allegedly

     distributed to another robber proceeds that had been washed

     to remove the red ink from exploded dye packs.

     As in Cavallino, there are multiple uncharged robberies

bearing similarities to the charged crimes, unlike in Myers,

where there was only one.     Additionally, the government claims to

have evidence that Porter believed commercial teller stations

contained more cash, and that he placed "emphasis" on robbing

commercial teller stations in both the charged and uncharged

crimes.   If shown at trial, this connection would be strikingly

similar to the facts of Cavallino, where the defendant had

expressed his preference for committing robberies at a certain

time of day and using a certain type of stolen vehicle, and then

proceeded to follow his own advice in both the charged and

uncharged robberies.

     In excluding evidence of an earlier robbery, the Court in

Myers emphasized that the uncharged crime was committed by a lone

gunman, while the charged robbery was committed by two

perpetrators.   In this case, the uncharged crimes were committed

by two individuals, while the charged robberies were committed by

three, with an additional individual waiting in the trailing


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vehicle.   While significant, this distinction is not

determinative.   The transition from a lone gunman to a team

player as alleged in Myers is a much more significant difference

than a mere increase in personnel.

     A slightly more troubling distinction is that the

perpetrators of the uncharged crimes wore bandannas or masks to

obscure their faces, while there is no evidence of their use in

the charged crimes.    If this were a case in which the crimes

shared only generic characteristics, this distinction could be

sufficient to overcome those commonalities.        But because the

charged and uncharged crimes have atypical similarities, this

possible distinction does not compel exclusion of the evidence.

In particular, the NY ball cap, the return to the 2200 North

Causeway bank, the focus on Capital One locations, the use of

both stolen getaway cars and trailing vehicles, and the emphasis

on commercial teller stations are unusual enough that, in

conjunction with the numerous, more "generic" features shared by

the charged and uncharged crimes, they tend to mark the robberies

as the handiwork of the accused.

     More recent opinions reinforce the Court's conclusion.             In

Guerrero, 169 F.3d 933, the Court upheld the use of earlier

armored car robberies as modus operandi evidence based on the

following similarities: (1) the robberies occurred in the same

city within a "relatively short period of time" (2) during "times


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of minimal bank traffic; (3) in each, a vehicle "suddenly pulled

up;" (4) the robbers were wearing business casual clothes, but

not masks; (5) the robbers in two of the robberies wore

sunglasses, as did one of the two robbers in the third; (6) each

occurred outside a bank while funds were being transferred to an

armored car; (7) the only witnesses were bank or armored car

employees; (8) the employee in control of the money was assaulted

in each robbery; and (9) the getaway vehicle was abandoned in

each case.     Id. at 939.

        Some of the similarities among the robberies in Guerrero

were either relatively generic (such as factors (3) and (5)), or

more or less outside the control of the robbers (such as factor

(7)).    Yet the Court still found that the evidence had a "modus

operandi or signature quality, sufficiently establishing that the

same group was involved in all three robberies." Id.           In a later

case stemming from the same crime spree, the Fifth Circuit upheld

the introduction of evidence of an uncharged robbery when the

only characteristics it shared with the charged crime were the

race of the perpetrators, the use of guns, the use and later

abandonment of a vehicle, and the fact that they both occurred

during times of low bank traffic.       United States v. Castaneda,

CRIM.A. No. 05-41864, 2007 WL 836932, at *4 (5th Cir. Mar. 15,

2007) (per curiam) (unpublished).       In that case, the uncharged

crime was an armored car robbery, while the charged crime was the


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robbery of a bank itself.       Id. at *1.    If the similarities were

sufficient to admit evidence of the uncharged robbery in that

case, much more so are they here.

     The second prong of the Beechum analysis requires the Court

to determine whether the probative value of the evidence is

substantially outweighed by the risk of unfair prejudice.             It is

true that the Government already has testimonial evidence linking

Porter to the charged robberies.         However, by pleading not

guilty, Porter has placed his identity as one of the perpetrators

squarely at issue, and the earlier bank robberies are clearly

probative of identity.    Moreover, evidence of earlier crimes need

not be excluded merely because the government has direct evidence

of the charged offense.       See United States v. Powers, 978 F.2d

354 (7th Cir. 1992) (upholding introduction of evidence of prior

bank robberies when the Government had photographs and witnesses

of the defendant's involvement in the charged crime). As

discussed above, the uncharged robberies occurred within a year

and a half of the charged crimes, and are certainly not so remote

as to diminish their probative value.         The prejudicial effect of

the three uncharged robberies in Cavallino was not so great as to

warrant their exclusion; nor is it here.

     Evidence of the earlier robberies is also admissible to

prove intent.   In United States v. Roberts, 619 F.2d 379 (5th

Cir. 1980) the Fifth Circuit held:


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  Charges of conspiracy involve considerations not present in
  other criminal prosecutions. The offense of conspiracy
  requires an element of intent or knowledge which is often
  difficult to prove. Because the prosecution must prove that
  the defendant knowingly joined a plan to commit a crime,
  evidence that establishes a defendant's participation in a
  criminal act, or evidence establishing his association with
  co-conspirators, may be insufficient to support the
  inference that the defendant voluntarily joined a conspiracy
  to commit a crime. . . . Unequivocal evidence that a
  defendant committed a substantive offense may justify the
  inference that he intended to do so, but it does not plainly
  support the conclusion that he agreed and planned with
  others to commit the crime.


Id. at 382-83 (citations omitted).      By pleading not guilty to a

conspiracy charge, Porter has placed his intent to enter the

agreement at issue, and the evidence is therefore relevant for

that purpose.

     Again, Beechum's second prong requires an analysis of the

evidence's probative value relative to its prejudicial effect.

In United States v. Jackson, 339 F.3d 349, 356 (5th Cir. 2003),

the Fifth Circuit distinguished Roberts on this point and held

that the district court had abused its discretion by admitting

the defendant's earlier theft conviction as evidence of his

intent to enter a conspiracy to transport stolen jewelry.             The

Court noted that unlike in Roberts, there was other substantial

evidence of Jackson's intent to enter the conspiracy.           Id.    It

also found Roberts inapposite because Jackson, unlike Roberts,

never claimed that he was an ignorant participant in the scheme.




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Rather, Jackson's defense was the he was not involved at all.

Id.   The Court concluded:

  The prior conviction in this case had very little probative
  value when considering the other evidence going to intent
  and the nature of Jackson's defense but the potential to
  cause unfair prejudice was substantial. . . . Here, where
  the threshold issue was one of identity, there was great
  danger that the jury would decide that Jackson was involved
  in the conspiracy because of his prior criminal conduct.
  This is precisely the inference Rule 404(b) forbids.

Id.

      Here, as in Jackson, the Government has independent

testimonial evidence going to Porter's intent.         Moreover, Porter

has indicated that he will claim not that he was an ignorant

participant in the conspiracy, but rather that he was not a

participant at all.    For these reasons, the uncharged bank

robberies have less value in terms of proving Porter's intent to

enter the robbery conspiracy.     As discussed above, however, the

uncharged robberies are highly probative of other matters, such

as modus operandi and the origins of the conspiracy.           No further

undue prejudice will result from the Government using this

independently admissible evidence for the additional purpose of

proving intent.   Moreover, even when the defense mounts a theory

of nonparticipation rather than ignorant participation, the Fifth

Circuit has indicated that evidence of other crimes will satisfy

Beechum's second prong if the Court issues a proper limiting

instruction.   United States v. Cisneros, 414 F. App'x 696, 701-02

(5th Cir. 2011) (per curiam) (unpublished).        See also United

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States v. Garcia Mendoza, 587 F.3d 682, 689 (5th Cir. 2009)

(upholding admission of testimony regarding defendant's earlier

drug transactions as evidence of intent to enter drug conspiracy,

despite defendant's assertion that he was not involved the

conspiracy, when the district court had given "a careful limiting

instruction").   Accordingly, the Government may use evidence of

the prior bank robberies to meet its burden of showing Porter's

intent to enter the conspiracy.



     B.   Acquisition of the Stolen Car

     The Government also seeks to introduce evidence against all

four defendants showing that Porter acquired a stolen vehicle for

use as a getaway car in the 2011 robberies.          It alleges that

Porter “used his associates to secure a vehicle . . . from an

individual who had failed to return it to a rental car company

and was also given a temp tag belonging to still another vehicle

to obscure its source.”       Despite its claim that Porter’s

acquisition of the car was “equally attributable to all the

charged defendants,” the Government makes no mention of the other

defendants’ involvement in obtaining the vehicle and does not

articulate whether the car was acquired by Porter before or after

the conspiracy was allegedly formed.          Lodrig has objected to the

admission of the evidence against him, arguing that the car was




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acquired, if at all, before he is alleged to have joined the

conspiracy.

      In this circuit, acts committed in furtherance of a charged

conspiracy are themselves part of the conspiracy.              United States

v. Bribiesca, 189 F.3d 467 (5th Cir. 1999) (unpublished).

Moreover, each defendant is responsible for the prior acts of his

coconspirators–even those acts completed before he joined the

conspiracy–so long as the act was performed after the formation

and in furtherance of the conspiracy.         United States v. Porter,

542 F.3d 1088, 1093 & n. 3 (5th Cir. 2008) (quoting United States

v. Barksdale-Contreras, 972 F.2d 111, 114 (5th Cir.1992)).               The

trouble here is that the Government has presented no evidence

indicating whether Porter is alleged to have obtained the stolen

vehicle before or after the conspiracy’s formation.             Evidence of

the car’s acquisition therefore will be admissible against

Porter’s co-defendants only if the Government establishes that

Porter acquired the car in furtherance of the conspiracy, after

its formation.

     On the other hand, evidence that the coconspirators used the

stolen vehicle in carrying out the robberies is admissible

against each defendant.       This is true regardless of whether each

defendant was aware of the car’s illicit origin, provided that at

least one defendant knew.       See United States v. Barksdale-

Contreras, 972 F.2d 111, 114 (5th Cir. 1992) (upholding


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kidnapping conviction of late-joining conspirator who denied

knowledge that the victim had been moved in foreign commerce, an

essential element of the crime).



     C.    Lodrig's Alleged Money Laundering

     Lodrig also objects to the use against him of evidence of

his alleged money laundering activities, although apparently only

for the purposes of Counts One, Four, Five and Six, and not as to

Count Seven, the money laundering conspiracy charge.

     The Government does not specify to which charges it believes

the evidence is relevant. Count Six, however, charges Lodrig with

participation in a conspiracy to conceal from law enforcement the

source of the dye-stained funds obtained in the August 26, 2011

robbery.   Specifically, the Government alleges that Lodrig and

others concocted a story about receiving the money from an

unknown individual at the Duck Off Bar who told them to exchange

the bills at a casino in exchange for a cut of the money.

Evidence that Lodrig did in fact exchange the dye-stained bills

at a casino is "inextricably intertwined" with his alleged

agreement to lie to police officers about the source of the funds

after they were laundered.     See Williams, 900 F.2d at 825.          The

evidence is also a "necessary preliminary" to the crime charged,

because Lodrig would have no reason to lie about the source of

funds he allegedly exchanged at the casino if he had not actually


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done so.   See id.    Accordingly, the evidence is intrinsic not

only to Count Seven, the money laundering conspiracy charge, but

also to Count Six, which corresponds to the alleged agreement to

lie about the laundering activity.      It is therefore admissible

for those purposes.



III. CONCLUSION

     For the foregoing reasons, the Court admits evidence of the

four prior bank robberies as intrinsic evidence of the

conspiracy, or in the alternative, as extrinsic evidence going to

identity and intent.    The Court withholds judgment as to whether

the acquisition of the stolen vehicle is admissible against

defendants other than Porter, which depends on whether Porter

acquired the vehicle before or after the formation of the alleged

conspiracy.   Evidence that the stolen vehicle was used by the

conspirators to commit the charged robberies is admissible

against all parties.    Finally, evidence of Lodrig's alleged

laundering of the dye-stained bills is admissible against him for

the purposes of proving Counts Six and Seven.



     New Orleans, Louisiana, this 17th
                                  ___ day of October, 2013.


               _____________________________________
                           SARAH S. VANCE
                    UNITED STATES DISTRICT JUDGE



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